                         Case 1-24-45433-ess                     Doc 1-4            Filed 12/31/24              Entered 12/31/24 15:26:10

  Fill in this information to identify the case:
                                                                                                                                                          Type text here
  Debtor name __________________________________________________________________
  United States Bankruptcy Court for the: ______________________ District of _________
                                                                                        (State)

  Case number (If known):      _________________________
                                                                                                                                                    Check if this is an
                                                                                                                                                       amended filing
 Official Form 206D
 Schedule D: Creditors Who Have Claims Secured by Property                                                                                                        12/15
 Be as complete and accurate as possible.

 1. Do any creditors have claims secured by debtor’s property?
     No. Check this box and submit page 1 of this form to the court with debtor’s other schedules. Debtor has nothing else to report on this form.
     Yes. Fill in all of the information below.
 Part 1:       List Creditors Who Have Secured Claims
                                                                                                                              Column A                Column B
 2. List in alphabetical order all creditors who have secured claims. If a creditor has more than one
    secured claim, list the creditor separately for each claim.                                                               Amount of claim         Value of collateral
                                                                                                                              Do not deduct the value that supports this
                                                                                                                              of collateral.          claim
2.1 Creditor’s name                             Describe debtor’s property that is subject to a lien
     DCP   BEDFORD   GRAHAM    LLC                                                                    30000000                                         14,000,000
     __________________________________________   1550 BEDFORD AVE BKLYN
                                                 ___________________________________________________ $__________________                              $_________________

    Creditor’s mailing address                                  ___________________________________________________
       360 Hamilton Avenue, Suite 1110
     ________________________________________________________   ___________________________________________________
      White Plains, NY 10601
     ________________________________________________________   Describe the lien                 MORTGAGE
                                                                 __________________________________________________
    Creditor’s email address, if known                          Is the creditor an insider or related party?
     _________________________________________
                                                                 No
                                                                 Yes
    Date debt was incurred __________________                   Is anyone else liable on this claim?
    Last 4 digits of account
                                                                 No
    number                   ___ ___ ___ ___
                                                                 Yes. Fill out Schedule H: Codebtors (Official Form 206H).
    Do multiple creditors have an interest in the               As of the petition filing date, the claim is:
    same property?                                              Check all that apply.
     No                                                         Contingent
     Yes. Specify each creditor, including this creditor,       Unliquidated
             and its relative priority.                          Disputed
             ___________________________________
             ___________________________________

2.2 Creditor’s name                             Describe debtor’s property that is subject to a lien
     Hivolts Electrical Inc.
     __________________________________________   1550 BEDFORD AVE BKLYN                              27,060                                           14,000.000
                                                 ___________________________________________________ $__________________                              $_________________

    Creditor’s mailing address                                  ___________________________________________________
      185 Spencer Street
     ________________________________________________________   ___________________________________________________
      Brooklyn, NY 11205                                        Describe the lien
     ________________________________________________________
                                                                                             MECHANICS LIEN
                                                                 __________________________________________________
    Creditor’s email address, if known                          Is the creditor an insider or related party?
     _________________________________________
                                                                 No
                                                                 Yes
    Date debt was incurred __________________                   Is anyone else liable on this claim?
    Last 4 digits of account
                                                                 No
    number                   ___ ___ ___ ___
                                                                 Yes. Fill out Schedule H: Codebtors (Official Form 206H).
    Do multiple creditors have an interest in the               As of the petition filing date, the claim is:
    same property?                                              Check all that apply.

     No                                                         Contingent
     Yes. Have you already specified the relative               Unliquidated
             priority?                                           Disputed
         No. Specify each creditor, including this
                 creditor, and its relative priority.
                 _________________________________
                 _________________________________
            Yes. The relative priority of creditors is
                 specified on lines _____

 3. Total of the dollar amounts from Part 1, Column A, including the amounts from the Additional                               $________________
    Page, if any.


   Official Form 206D                               Schedule D: Creditors Who Have Claims Secured by Property                                            page 1 of ___
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  Debtor            _______________________________________________________                                Case number (if known)_____________________________________
                    Name



                                                                                                                              Column A                Column B
 Part 1:        Additional Page                                                                                               Amount of claim         Value of collateral
                                                                                                                              Do not deduct the value that supports this
                                                                                                                              of collateral.          claim
  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
  previous page.

2._ Creditor’s name                                             Describe debtor’s property that is subject to a lien

     Aluma  Systems Concrete Construction LLC ___________________________________________________
     __________________________________________    1550 BEDFORD AVE BKLYN
                                                                                                                                 27,196
                                                                                                                              $__________________        14,000.000
                                                                                                                                                      $_________________
                                                                ___________________________________________________
    Creditor’s mailing address
                                                                ___________________________________________________
      1800 Lower Road
     ________________________________________________________

      Linden, New Jersey 07036
     ________________________________________________________   Describe the lien
                                                                                  MECHANICS LIEN
                                                                 __________________________________________________

    Creditor’s email address, if known                          Is the creditor an insider or related party?
     _________________________________________
                                                                 No
                                                                 Yes

    Date debt was incurred __________________                   Is anyone else liable on this claim?
                                                                 No
    Last 4 digits of account
    number                   ___ ___ ___ ___
                                                                 Yes. Fill out Schedule H: Codebtors (Official Form 206H).

    Do multiple creditors have an interest in the               As of the petition filing date, the claim is:
    same property?                                              Check all that apply.

     No                                                         Contingent
     Yes. Have you already specified the relative               Unliquidated
               priority?                                         Disputed
            No. Specify each creditor, including this
                    creditor, and its relative priority.
                    _______________________________
                    _______________________________
                    _______________________________

            Yes. The relative priority of creditors is
                    specified on lines _____


2._ Creditor’s name                                             Describe debtor’s property that is subject to a lien


      C & A Iron Works, Inc.
     __________________________________________                       1550 BEDFORD AVE BKLYN
                                                                ___________________________________________________
                                                                                                                               122,750
                                                                                                                              $__________________        14,000.000
                                                                                                                                                      $_________________
    Creditor’s mailing address                                  ___________________________________________________


               65 13th St.                                      ___________________________________________________
     ________________________________________________________

               Brooklyn, NY 11215                               Describe the lien
     ________________________________________________________
                                                                                 MECHANICS LIEN
                                                                 __________________________________________________

    Creditor’s email address, if known                          Is the creditor an insider or related party?
     _________________________________________
                                                                 No
                                                                 Yes
    Date debt was incurred __________________                   Is anyone else liable on this claim?
                                                                 No
    Last 4 digits of account
    number                   ___ ___ ___ ___
                                                                 Yes. Fill out Schedule H: Codebtors (Official Form 206H).

    Do multiple creditors have an interest in the               As of the petition filing date, the claim is:
    same property?                                              Check all that apply.

     No                                                         Contingent
     Yes. Have you already specified the relative               Unliquidated
               priority?                                         Disputed
            No. Specify each creditor, including this
                    creditor, and its relative priority.
                    _______________________________
                    _______________________________
                    _______________________________

            Yes. The relative priority of creditors is
                    specified on lines _____



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  Debtor            _______________________________________________________                                Case number (if known)_____________________________________
                    Name



                                                                                                                              Column A                Column B
 Part 1:        Additional Page                                                                                               Amount of claim         Value of collateral
                                                                                                                              Do not deduct the value that supports this
                                                                                                                              of collateral.          claim
  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
  previous page.

2._ Creditor’s name                                             Describe debtor’s property that is subject to a lien
       Moncon Inc.
     __________________________________________                  1550 BEDFORD AVE BKLYN
                                                                ___________________________________________________
                                                                                                                                 450,245                 14,000.000
                                                                                                                              $__________________     $_________________
                                                                ___________________________________________________
    Creditor’s mailing address
            56-21 Metropolitan Ave.                             ___________________________________________________
     ________________________________________________________

            Ridgewood NY 11385
     ________________________________________________________   Describe the lien
                                                                                 MECHANICS LIEN
                                                                 __________________________________________________

    Creditor’s email address, if known                          Is the creditor an insider or related party?
     _________________________________________
                                                                 No
                                                                 Yes

    Date debt was incurred __________________                   Is anyone else liable on this claim?
                                                                 No
    Last 4 digits of account
    number                   ___ ___ ___ ___
                                                                 Yes. Fill out Schedule H: Codebtors (Official Form 206H).

    Do multiple creditors have an interest in the               As of the petition filing date, the claim is:
    same property?                                              Check all that apply.

     No                                                         Contingent
     Yes. Have you already specified the relative               Unliquidated
               priority?                                         Disputed
            No. Specify each creditor, including this
                    creditor, and its relative priority.
                    _______________________________
                    _______________________________
                    _______________________________

            Yes. The relative priority of creditors is
                    specified on lines _____


2._ Creditor’s name                                             Describe debtor’s property that is subject to a lien

       USC-KINGS, LLC
     __________________________________________                      1550 BEDFORD AVE BKLYN
                                                                ___________________________________________________              353,843
                                                                                                                              $__________________       14,000.000
                                                                                                                                                      $_________________
    Creditor’s mailing address                                  ___________________________________________________


            120-05 31st Avenue                                  ___________________________________________________
     ________________________________________________________

            Flushing, NY 11354
     ________________________________________________________   Describe the lien
                                                                                 MECHANICS LIEN
                                                                 __________________________________________________

    Creditor’s email address, if known                          Is the creditor an insider or related party?
     _________________________________________
                                                                 No
                                                                 Yes
    Date debt was incurred __________________                   Is anyone else liable on this claim?
                                                                 No
    Last 4 digits of account
    number                   ___ ___ ___ ___
                                                                 Yes. Fill out Schedule H: Codebtors (Official Form 206H).

    Do multiple creditors have an interest in the               As of the petition filing date, the claim is:
    same property?                                              Check all that apply.

     No                                                         Contingent
     Yes. Have you already specified the relative               Unliquidated
               priority?                                         Disputed
            No. Specify each creditor, including this
                    creditor, and its relative priority.
                    _______________________________
                    _______________________________
                    _______________________________

            Yes. The relative priority of creditors is
                    specified on lines _____



  Official Form 206D                      Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                   page ___ of ___
                     Case 1-24-45433-ess                            Doc 1-4             Filed 12/31/24                     Entered 12/31/24 15:26:10


Debtor           _______________________________________________________                                                 Case number (if known)_____________________________________
                 Name



Part 2:      List Others to Be Notified for a Debt Already Listed in Part 1

List in alphabetical order any others who must be notified for a debt already listed in Part 1. Examples of entities that may be listed are collection
agencies, assignees of claims listed above, and attorneys for secured creditors.

If no others need to be notified for the debts listed in Part 1, do not fill out or submit this page. If additional pages are needed, copy this page.

                                                                                                                                     On which line in Part 1     Last 4 digits of
         Name and address
                                                                                                                                     did you enter the           account number
                                                                                                                                     related creditor?           for this entity
    __________________________________________________________________________________________________________________

    ____________________________________________________________________________                                                     Line 2. __                  ___ ___ ___ ___
    ____________________________________________________________________________

    __________________________________________________________________________________________________________________

    ____________________________________________________________________________                                                     Line 2. __                  ___ ___ ___ ___
    ____________________________________________________________________________

    __________________________________________________________________________________________________________________

    ____________________________________________________________________________                                                     Line 2. __                  ___ ___ ___ ___
    ____________________________________________________________________________

    __________________________________________________________________________________________________________________

    ____________________________________________________________________________                                                     Line 2. __                  ___ ___ ___ ___
    ____________________________________________________________________________

    __________________________________________________________________________________________________________________

    ____________________________________________________________________________                                                     Line 2. __                  ___ ___ ___ ___
    ____________________________________________________________________________

    __________________________________________________________________________________________________________________

    ____________________________________________________________________________                                                     Line 2. __                  ___ ___ ___ ___
    ____________________________________________________________________________

    __________________________________________________________________________________________________________________

    ____________________________________________________________________________                                                     Line 2. __                  ___ ___ ___ ___
    ____________________________________________________________________________

    __________________________________________________________________________________________________________________

    ____________________________________________________________________________                                                     Line 2. __                  ___ ___ ___ ___
    ____________________________________________________________________________

    __________________________________________________________________________________________________________________

    ____________________________________________________________________________                                                     Line 2. __                  ___ ___ ___ ___
    ____________________________________________________________________________

    __________________________________________________________________________________________________________________

    ____________________________________________________________________________                                                     Line 2. __                  ___ ___ ___ ___
    ____________________________________________________________________________

    __________________________________________________________________________________________________________________

    ____________________________________________________________________________                                                     Line 2. __                  ___ ___ ___ ___
    ____________________________________________________________________________

    __________________________________________________________________________________________________________________

    ____________________________________________________________________________                                                     Line 2. __                  ___ ___ ___ ___
    ____________________________________________________________________________

    __________________________________________________________________________________________________________________

    ____________________________________________________________________________                                                     Line 2. __                  ___ ___ ___ ___
    ____________________________________________________________________________

    __________________________________________________________________________________________________________________

    ____________________________________________________________________________                                                     Line 2. __                  ___ ___ ___ ___
    ____________________________________________________________________________


Form 206D                                Official Part 2 of Schedule D: Creditors Who Have Claims Secured by Property                                               page ___ of ___
